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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA



 Cube Infrastructure Fund SICAV, Cube
 Infrastructure Managers S.A., Cube Energy
 S.C.A. (now Cube Energy S.à.r.l.), Demeter
 Partners S.A., and Demeter 2 FPCI,
                                                     Hon. Emmet G. Sullivan
                               Plaintiffs,           Civil Action No. 1:20-cv-01708-EGS

                        v.

 The Kingdom of Spain,

                               Defendant.


                     JOINT STATUS REPORT OF OCTOBER 5, 2021

       Cube Infrastructure Fund SICAV, Cube Infrastructure Managers S.A., Cube Energy S.C.A.

(now Cube Energy S.à.r.l.), Demeter Partners S.A., and Demeter 2 FPCI (“Plaintiffs”) and the

Kingdom of Spain (“Spain”) make this submission pursuant to the Court’s Order of June 4, 2021

directing the parties to “file another joint status report informing the Court of the status of the

annulment proceedings and proposing a recommendation for further proceedings by no later than

October 4, 2021.” Minute Order of September 3, 2021.

                                      Status of ICSID Proceeding

       1.       On August 31, 2021, the Annulment Committee in Cube Infrastructure Fund

SICAV and others v. Kingdom of Spain, ICSID Case No. ARB/15/20, rejected Plaintiffs’ request

to add the annulment committee decision issued in ICSID Case No. ARB/13/31, Infrastructure

Services Luxembourg S.á.r.l. and Energia Termosolar B.V. (formerly Antin Infrastructure Services

Luxembourg S.á.r.l. and Antin Energia Termosolar B.V.) v. Kingdom of Spain and therefore

deemed Spain’s request to introduce State Aid S.A.54155 (2021/NN) moot.
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        2.       On September 9, 2021, Spain requested the Annulment Committee’s permission to

submit the Court of Justice of the European Union’s decision in Case C-741/19, Republic of

Moldova v. Komstroy.

        3.       On September 20, 2021, the Annulment Committee rejected Spain’s request.

        4.       The parties continue to await the Annulment Committee’s Decision on the merits

of Spain’s application for annulment.

                     Parties’ Positions Concerning Furtherance of This Proceeding

        5.       The parties recommend the filing of another joint status report on November 4,

2021.



Dated: October 5, 2021
       New York, New York


                                                    /s/ James E. Berger
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